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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No.

  MICROSOFT, INC., a Washington Corporation,

                             Plaintiff,

         vs.

  OFFICE SOLUTIONS USA LLC, a Florida
  Limited Liability Company, and HENRIQUE
  COUTINHO TRAD, aka HENRIQUE TRAD
  SOUZA, an individual,

                             Defendants.


                                             COMPLAINT
         Plaintiff Microsoft Corporation (“Microsoft”) brings this Complaint against Office

  Solutions USA LLC (“Office Solutions”) and Henrique Coutinho Trad, aka Henrique Trad

  Souza (“Trad”) (collectively, “Defendants”), alleging as follows:

                                      I.      INTRODUCTION

         1.      This is an action for 1) contributory copyright infringement; 2) trademark

  infringement; 3) false designation of origin and false and misleading representations and

  descriptions of fact; and 4) trade dress infringement.

         2.      Defendants are prolific distributors of black market access devices to Microsoft

  software that they unlawfully advertise to consumers as genuine software. As a major part of

  their sales, Defendants instruct their customers to acquire, install, and activate copies of

  Microsoft software with the access devices. This software is either from counterfeit download

  sites or Microsoft sites that require the purchase of licensed software.

         3.      Defendants use Microsoft’s trademarks and trade dress in their marketing and

  sales materials without authorization to deceive consumers about the characteristics, origin, and

  authenticity of the software. In particular, Defendants deceive their customers into believing that

  this software is legally licensed for them to use, when it is not.
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         4.        Defendants’ black market access devices include product activation keys which

  are uncoupled from the genuine, licensed Microsoft software they were intended and authorized

  to activate and sold by Defendants on a “stand-alone” basis separate from the original licensed

  software (“decoupled product keys”). Defendants’ black market access devices also include

  tokens for software pre-installed on Original Equipment Manufacturer (“OEM”) devices and

  only authorized for use by specific OEMs for devices in China (“OEM tokens”). Lastly,

  Defendants’ black market access devices include credentials for unlicensed Office 365 cloud

  accounts that were created and distributed without authorization from Microsoft (“unauthorized

  credentials”).

         5.        Decoupled product keys, OEM tokens, and unauthorized credentials do not

  constitute or represent licenses for Microsoft software. They are merely technology tools that

  Microsoft provides customers and its supply chain partners to access, install and activate copies

  of legally licensed software. When these tools are uncoupled from legally licensed software,

  disassociated with the devices on which they were authorized to be used, or created without

  authorization, the tools do not have any independent value other than to deceive unwitting

  consumers into acquiring copies of pirated and unlicensed software. That is the case here.

         6.        On information and belief, Defendants have reaped substantial profits from their

  unlawful sales of unauthorized access devices, all while falsely holding themselves out to be

  legitimate distributors of licensed Microsoft software. Defendants knew, or had reason to know,

  that they were facilitating, contributing to, and causing the unlawful copying and distribution of

  unlicensed Microsoft software.

         7.        Defendants’ unlawful sale of unauthorized access devices hurts consumers,

  legitimate commerce, and the software business. Customers are deceived into purchasing

  unlicensed and counterfeit copies of software when they think they are buying genuine, licensed

  software. Businesses selling genuine licensed software are harmed when potential customers are

  lured away by lower-priced pirated software offerings. Microsoft is harmed by Defendants’

  misuse and theft of its intellectual property.
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         8.      To put a stop to Defendants’ scheme and associated unlawful activities and hold

  them accountable, Microsoft seeks an order permanently enjoining Defendants from further sales

  of unauthorized access devices and an award of money damages for the substantial harm

  Defendants have caused.

                                          II.     PARTIES

         9.      Microsoft is a Washington corporation with its principal place of business in

  Redmond, Washington. Microsoft develops, markets, distributes, and licenses computer

  software, among other products and services.

         10.     On information and belief, Office Solutions is a Florida limited liability company

  with its principal place of business at 601 Brickell Key Drive, Miami, Florida. Office Solutions

  advertises and sells Microsoft-branded products through its website at officesolutionsusa.net.

         11.     On information and belief, Office Solutions is owned, operated by, or otherwise

  under the substantial control of Trad, who resides in Doral, Florida. On information and belief,

  Trad, who is a citizen of the state of Florida, is the sole member of Office Solutions. On

  information and belief, Trad personally participated in and had the right and ability to supervise,

  direct, and control the wrongful conduct alleged in this Complaint, and he derived a direct

  financial benefit from that wrongful conduct. Trad is therefore liable for the wrongful conduct

  alleged herein under principles of secondary liability, including, without limitation, respondeat

  superior, vicarious liability, and contributory infringement.

                                III.    JURISDICTION & VENUE

         12.     The Court has subject-matter jurisdiction over the federal claims alleged herein

  pursuant to 15 U.S.C. § 1121, 17 U.S.C. § 501, and 28 U.S.C. §§ 1331 and 1338(a). The Court

  also has subject-matter jurisdiction under 28 U.S.C. § 1332 because this action is between

  citizens of different states (Washington and Florida), and the matter in controversy exceeds

  $75,000, exclusive of interest and costs.



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         13.     The Court has personal jurisdiction over Defendants because they reside in the

  Southern District of Florida and otherwise do business in the district.

                                            IV.     FACTS
         A.      The Negative Impact of Software Piracy on Consumers, Legitimate Business,
                 and Intellectual Property Rightsholders
         14.     The U.S. economy loses billions of dollars in revenues each year from software

  piracy—namely, the unauthorized and unlawful copying, downloading, and distributing of

  copyrighted and trademarked software and related components. Software developers, like

  Microsoft, create hundreds of thousands of technology jobs and are significant drivers of

  economic growth across the United States and globally. The theft of intellectual property

  negatively impacts software companies’ revenues and the economic growth of countries around

  the world.

         15.     Software piracy also victimizes consumers who believe they are purchasing

  genuine, fully licensed products. As occurred in this case, distributors of pirated software

  deceive consumers by going to great lengths to make the software appear to be licensed and

  authorized by Microsoft and advertising it as such.

         16.     Legitimate technology businesses that follow the rules are also harmed by

  software piracy because their business is displaced by cheaper offerings from dishonest vendors

  who do not acquire and pay for licensed software.

         B.      Microsoft’s Intellectual Property

         17.     Microsoft develops, advertises, markets, distributes, and licenses a number of

  computer software programs. One of the methods that Microsoft uses to distribute software is

  digital downloads through Microsoft.com and authorized electronic-software distribution

  vendors.

         18.     Microsoft sells licenses to use its software; it does not sell the software itself.

  Microsoft’s software licensing agreements make clear to end users that they are acquiring a

  license to use the software and not title to the software. The licensing agreements contain

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  limitations around the use of the software and place restrictions on transfer of the software

  license and accompanying components.

         19.             Microsoft’s software programs include the following, among others:

                 a)      Microsoft Office 2019: Microsoft has developed, and advertises,

  markets, distributes, and licenses a suite of productivity software for business, home, and

  education use called Microsoft Office 2019 (“Office 2019”). Office 2019 is available in a

  number of different versions, each of which includes certain combinations of products,

  programs, and features. Versions of Office 2019 include Office 2019 Professional Plus, Office

  2019 Home & Student, and Office 365 Professional. Microsoft holds a valid copyright in Office

  Professional Plus 2019, the most expansive version of Office 2019. This copyright encompasses

  all versions of Office 2019. Microsoft’s copyright in Office Professional Plus 2019 was duly and

  properly registered with the United States Copyright Office, bearing the number TX 8-640-200,

  a true and correct copy of which is attached hereto as Exhibit 1.

                 b)      Microsoft Project 2019: Microsoft has developed, and advertises,

  markets, distributes, and licenses a software program of project management called Microsoft

  Project 2019 (“Project 2019”). Microsoft holds a valid copyright in Microsoft Project

  Professional 2019, the most expansive version of Project 2019. This copyright encompasses all

  versions of Project 2019. Microsoft’s copyright in Microsoft Project Professional 2019 was duly

  and properly registered with the United States Copyright Office, bearing the number TX 8-727-

  066, a true and correct copy of which is attached hereto as Exhibit 2.

                 c)      Microsoft Visio 2019: Microsoft has developed, and advertises, markets,

  distributes, and licenses a software program for diagramming and vector graphics called

  Microsoft Visio 2019 (“Visio 2019”). Microsoft holds a valid copyright in Microsoft Visio

  Professional 2019, the most expansive version of Visio 2019, and this copyright encompasses all

  versions of Visio 2019. Microsoft’s copyright in Microsoft Visio Professional 2019 was duly




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  and properly registered with the United States Copyright Office, bearing the number TX 8-727-

  070, a true and correct copy of which is attached hereto as Exhibit 3.

                 d)      Microsoft Windows 10: Microsoft has developed, advertises, markets,

  distributes, and licenses a computer operating system called Microsoft Windows 10 (“Windows

  10”). Windows 10 is available in a number of different versions including Windows 10

  Ultimate, Windows 10 Professional, Windows 10 Home Premium, and Windows 10 Enterprise.

  Microsoft holds a valid copyright in Windows 10 (Spring 2020 Update), the most expansive

  version of Windows 10. As a result, Microsoft’s copyright in Windows 10 (Spring 2020 Update)

  encompasses all other versions of Windows 10. Microsoft’s copyright in Windows 10 (Spring

  2020 Update) was duly and properly registered with the United States Copyright Office, bearing

  the number TX 8-890-546, a true and correct copy of which is attached hereto as Exhibit 4.

         20.     Microsoft has developed, advertises, markets, distributes, and licenses the above

  software and related components using various trademarks and service marks, and uses these

  marks to distinguish Microsoft’s software and related components from the software or products

  of others in the same field or related fields. Relevant to this case, Microsoft has duly and

  properly registered a number of trademarks and service marks in the United States Patent and

  Trademark Office on the Principal Register, including:

                 a)      “MICROSOFT,” Trademark and Service Mark Registration No. 1,200,236

  for, inter alia, computer programs and computer programming services, a true and correct copy

  of which is attached hereto as Exhibit 5.

                 b)      “WINDOWS,” Trademark Registration No. 1,872,264 for, inter alia,

  computer programs and manuals sold as a unit, a true and correct copy of which is attached

  hereto as Exhibit 6.

                 c)      “MICROSOFT CORPORATE COMPOSITE LOGO,” Trademark and

  Service Mark Registration No. 4,552,363, for, inter alia, computer software, a true and correct

  copy of which is attached hereto as Exhibit 7.


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                   d)    “MICROSOFT CORPORATE LOGO,” Trademark and Service Mark

  Registration No. 4,560,827, for, inter alia, computer software, a true and correct copy of which is

  attached hereto as Exhibit 8.

                   e)    “OFFICE 2012 DESIGN,” Trademark and Service Mark Registration No.

  4,459,826, for, inter alia, computer software, a true and correct copy of which is attached hereto

  as Exhibit 9.

                   f)    “OFFICE WITH OFFICE 2012 DESIGN,” Trademark Registration No.

  4,456,462, for, inter alia, computer software, a true and correct copy of which is attached hereto

  as Exhibit 10.

                   g)    “EXCEL,” Trademark Registration No. 2,942,050, for, inter alia,

  computer software, a true and correct copy of which is attached hereto as Exhibit 11.

                   h)    “POWERPOINT,” Trademark Registration No. 1,475,795, for, inter alia,

  computer software, a true and correct copy of which is attached hereto as Exhibit 12.

                   i)    “ONENOTE,” Trademark Registration No. 2,844,710, for, inter alia,

  computer software, also registered under Registration No. 4,251,355. A true and correct copy of

  the first-filed ONENOTE trademark registration is attached hereto as Exhibit 13.

                   j)    “OUTLOOK,” Trademark Registration No. 2,188,125, for, inter alia,

  computer software, also registered under Registration Nos. 4,255,129 and 4,423,056. A true and

  correct copy of the first-filed OUTLOOK trademark registration is attached hereto as Exhibit 14.

                   k)    “MICROSOFT ACCESS,” Trademark Registration No. 1,741,086, for,

  inter alia, computer software. A true and correct copy of the first-filed MICROSOFT ACCESS

  trademark registration is attached hereto as Exhibit 15.

                   l)    “PROJECT LAUNCH ICON (2012),” Trademark Registration No.

  4,355,450, for, inter alia, computer software. A true and correct copy of the first-filed PROJECT

  LAUNCH ICON (2012) trademark registration is attached hereto as Exhibit 16.




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                 m)      “PROJECT LAUNCH ICON (color),” Trademark Registration No.

  5,068,834, for, inter alia, computer software. A true and correct copy of the first-filed PROJECT

  LAUNCH ICON (color) trademark registration is attached hereto as Exhibit 17.

                 n)      “VISIO,” Trademark Registration No. 1,838,372, for, inter alia, computer

  software, also registered under Registration No. 2,063,786. A true and correct copy of the first-

  filed VISIO trademark registration is attached hereto as Exhibit 18.

           C.    Microsoft’s Anti-Piracy Tools and Technologies

           21.   One important element of Microsoft’s anti-piracy technology is product

  activation, which involves the activation of software through product activation keys. A

  Microsoft product activation key is a 25-character alphanumeric string generated by Microsoft

  and provided to customers and OEMs. When customers and OEMs install copies of certain

  Microsoft software on a device, they are required to enter a product activation key. As part of

  the activation process, customers and, in some cases, OEMs, voluntarily contact Microsoft’s

  activation servers over the Internet and transmit their product keys and other technical

  information about their device to the activation servers.

           22.   The activation process is analogous to the activation of credit cards or mobile

  phones with a code provided by the financial institution or the mobile carrier. Because in certain

  instances copies of Microsoft’s copyrighted software are capable of being installed on an

  unlimited number of computers, Microsoft relies on the product activation process to detect

  unauthorized use and protect consumers from the risks of non-genuine software.

           23.   Product activation keys are not a software license, nor do they constitute

  authorization from Microsoft to access or use software without the appropriate license. Product

  activation is merely technology used by Microsoft to protect its intellectual property from

  unauthorized use, counterfeiting, and other forms of abuse. Microsoft does not sell or otherwise

  provide product activation keys separately from licensed software, nor does it authorize others to

  do so.


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          24.     Some Microsoft programs issue tokens to customers that they use to download

  and activate copies of the software. Similar to product activation keys, tokens are 25-character

  alphanumeric strings generated by Microsoft. The associated product activation key does not

  need to be entered separately as it automatically activates the software when a token is used to

  download such copy. Like product activation keys, these tokens do not constitute authorization

  from Microsoft to access or use software without the appropriate license.

          25.     One prevalent facilitator of unauthorized software use is the unlawful distribution

  of Microsoft product activation keys that have been decoupled from the software they were

  authorized to activate. Decoupled product activation keys are frequently “abused,” meaning

  used to activate more copies of software than the license for the software they were intended to

  activate allows.

          26.     Similarly, there is a market for the unauthorized distribution of tokens. These

  tokens enable the holder of the token to download and activate unlicensed and pirated copies of

  software.

          27.     Distributors of these keys commonly instruct their customers, as in this case, to

  download copies of the software from Microsoft or other unauthorized download site and then

  use the decoupled keys to activate the software. In these instances, the customers downloading

  copies of the software do not purchase the required software license, and Microsoft is not paid

  for the software being used. The global black market for decoupled product activation keys

  generates millions of dollars of illicit revenues for distributors.
          D.      Defendants’ Unlawful Advertising and Sale of Microsoft Software and
                  Components
          28.     As described above, Microsoft’s investigations have revealed that Defendants are

  engaged in the widespread marketing and sale of unauthorized access devices including

  decoupled product keys, OEM tokens, and unauthorized credentials. Defendants advertise these

  unauthorized access devices with download links to software which they instruct their customers

  to use to obtain copies of the software. These download links are either to Microsoft’s genuine

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  download sites which their customers are not authorized to use because they do not have a

  license for the software, or to unauthorized sites containing counterfeit copies of software. In

  either instance, copying software from these sites constitutes the infringement of Microsoft’s

  copyright-protected software which Defendants induced, enabled, facilitated, and proximately

  caused.

            29.   Between November 1, 2019 and September 10, 2020, Microsoft test purchased

  the below-described unauthorized access devices from Defendants’ website at

  officesolutionsusa.net. Microsoft’s trademarks were used, without authorization, on the website

  and in Defendants’ sales materials to market and advertise the Microsoft software associated

  with the unauthorized access devices. Defendants’ use of the Microsoft trademarks was intended

  to, and likely did, confuse consumers about the origin and authenticity of the software and their

  entitlement to use the unauthorized access devices.

            30.   Test Purchases 1-2: On November 7, 2019, a Microsoft investigator purchased

  (a) three copies of Office 2019 Home and Student for $43.66 per copy; and (b) three copies of

  Office 365 Professional for $46.69 per copy. The results of the test purchase are as follows:
                  a)     Defendants fulfilled the Office 2019 Home and Student order by

  supplying the investigator with abused OEM tokens for the software and a link to a Microsoft

  download site that neither Defendants nor their customers were authorized to use to download

  copies of Microsoft Office software with the OEM tokens distributed by Defendants.

                  b)     Defendants fulfilled the Office 365 Professional order by supplying the

  investigator with credentials (user names and passwords) unlawfully created for Office 365

  subscription accounts that neither Defendants nor their customers were authorized to use to

  access Microsoft Office software.

            31.   Test Purchases 3-5: On December 11, 2019, a Microsoft investigator purchased

  (a) two copies of Office 2019 Professional for $136.99 per copy; (b) two copies of Microsoft

  Project 2019 Professional for $96.76 per copy; and (c) three copies of Microsoft Visio

  Professional 2019 for $76.69 per copy.
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                 a)     Defendants fulfilled the Office 2019 Professional order by supplying the

  investigator with two decoupled product keys for the Microsoft Developer Network (“MSDN”)

  program. These keys are only authorized for use by a member of the MSDN program and may

  not be redistributed. Defendants also supplied the investigator with links to one unauthorized

  download site containing counterfeit software and one Microsoft download site, neither of which

  Defendants or their customers were authorized to use to download copies of Microsoft Office

  software using the MSDN program keys distributed by Defendants.

                 b)     Defendants fulfilled the Project 2019 Professional order by supplying the

  investigator with two tokens for Microsoft Project software associated with the MSDN program.

  These tokens are only authorized for use by a member of the MSDN program and may not be

  redistributed. Defendants also supplied the investigator with a link to a Microsoft download site

  that neither Defendants nor their customers were authorized to use to download copies of

  Microsoft Project software using the MSDN program tokens for Microsoft Project distributed by

  Defendants.

                 c)     Defendants fulfilled the Visio Professional 2019 order by supplying the

  investigator with three tokens for Microsoft Visio software associated with the MSDN program.

  These tokens are only authorized for use by a member of the MSDN program and may not be

  redistributed. Defendants also supplied the investigator with a link to a Microsoft download site

  that neither Defendants nor their customers were authorized to use to download copies of

  Microsoft Visio software using the MSDN program tokens distributed by Defendants.

         32.     Test Purchases 6-8: On September 10, 2020, a Microsoft investigator purchased

  from Defendants’ website (a) one copy of Visio Professional 2019 for $163.00; (b) one copy of

  Project Professional 2019 for $168.76; and (c) one copy of Windows 10 Professional 10 for

  $99.96.

                 a)     Defendants fulfilled the Visio Professional 2019 order by supplying the

  investigator one decoupled product key that was authorized for use only by qualified educational

  users and not authorized for redistribution. Defendants also supplied a link to an unauthorized
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  download site containing counterfeit software that neither Defendants nor their customers were

  authorized to use to download copies of Microsoft Visio software using the decoupled academic

  product key distributed by Defendants.

                 b)      Defendants fulfilled the Project Professional 2019 order by supplying the

  investigator with an MSDN token that was authorized for use only by the MSDN program

  customer to whom it was provided and was not authorized for redistribution. Defendants also

  supplied a link to a Microsoft download site that neither Defendants nor their customers were

  authorized to use to download copies of Microsoft Project software using the MSDN tokens

  distributed by Defendants.

                 c)      Defendants fulfilled the Windows 10 Professional order by supplying the

  investigator with one decoupled product key that was authorized for use only by qualified

  educational users and not authorized for redistribution. Defendants also supplied the investigator

  with a link to a Microsoft download site that neither Defendants nor their customers were

  authorized to use to download copies of Microsoft Windows 10 software using the decoupled

  academic product key distributed by Defendants.

                                   V.      CAUSES OF ACTION
                                     FIRST CAUSE OF ACTION
                                  Contributory Copyright Infringement
                                            17 U.S.C. § 501
         33.     Microsoft re-alleges paragraphs 1 through 32 as though fully set forth in this

  Cause of Action.

         34.     Microsoft is the sole owner of the software programs listed in paragraphs 19 and

  of the corresponding copyrights and Certificates of Registration with the registration numbers

  listed in those paragraphs.

         35.     Defendants’ customers unwittingly have infringed and continue to infringe

  Microsoft’s copyright-protected software by using unauthorized access devices to download,
  copy, and activate Microsoft software.


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         36.     Defendants materially contribute to their customers’ infringement by knowingly

  and intentionally sourcing and reselling decoupled product keys to be used by their customers to

  facilitate the downloading, copying, and activation of Microsoft’s copyright-protected software

  from unauthorized and counterfeit download sites.

         37.     At a minimum, Defendants acted with willful blindness to, or in reckless

  disregard of, Microsoft’s intellectual property rights.

         38.     On information and belief, Defendants have committed, and continue to commit,

  acts contributing to the infringement of the Microsoft copyrights described above.

         39.     As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

  actual damages and Defendants’ profits attributable to the infringement. Alternatively,

  Microsoft is entitled to statutory damages under 17 U.S.C. § 504(c).

         40.     The Court should enhance an award of statutory damages in accordance with 17

  U.S.C. § 504(c)(2).

         41.     Microsoft is further entitled to injunctive relief and to an order impounding all

  unlawfully obtained product-activation keys. Microsoft has no adequate remedy at law for

  Defendants’ wrongful conduct because, among other things: (a) Microsoft’s copyright is unique

  and valuable property that has no readily determinable market value; (b) Defendants’

  infringement harms Microsoft such that Microsoft could not be made whole by any monetary

  award; and (c) Defendants’ wrongful conduct, and the resulting damage to Microsoft, is

  continuing.

                                   SECOND CAUSE OF ACTION
                                     Trademark Infringement
                                         15 U.S.C. § 1114
         42.     Microsoft re-alleges paragraphs 1 through 32 as though fully set forth in this

  Cause of Action.

         43.     Defendants’ activities constitute infringement of Microsoft’s federally registered

  trademarks with the registration numbers listed in paragraph 20. Microsoft advertises, markets,


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  distributes, and licenses its software and related components under the trademarks described

  above and uses these trademarks to distinguish Microsoft’s software and related components

  from the software or products of others in the same or related fields.

          44.    Because of Microsoft’s long, continuous, and exclusive use of these trademarks,

  they have come to mean—and are understood by customers, end users, and the public to

  signify—software programs and related components or services of Microsoft.

          45.    Defendants have been, and continue to be, involved in using Microsoft’s

  registered trademarks in advertising, marketing, and offering Microsoft product keys to be used

  by customers without Microsoft’s authority to activate pirated and unlicensed software.

  Defendants are not licensed to use these registered trademarks.

          46.    Defendants’ use of the trademarks in advertising, marketing, and offering

  software and product keys is likely to cause confusion, mistake, or deception as to the product

  keys’ source, origin, or authenticity and the source, origin, or authenticity of the pirated and

  unlicensed software that Defendants contribute to and induce their customers to download and

  activate.

          47.    Further, Defendants’ activities are likely to lead others to conclude, incorrectly,

  that the infringing materials that Defendants are advertising, marketing, installing, offering, and

  distributing originate with or are authorized by Microsoft, thereby harming Microsoft, its

  licensees, and the public.

          48.    At a minimum, Defendants acted with willful blindness to, or in reckless

  disregard of, Microsoft’s registered marks.

          49.    As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

  actual damages, Defendants’ profits attributable to the infringement, and treble damages and

  attorney fees under 15 U.S.C. § 1117(a) and (b). Alternatively, Microsoft is entitled to statutory

  damages under 15 U.S.C. § 1117(c).

          50.    Microsoft is further entitled to injunctive relief and to an order compelling the

  impoundment of all infringing and unauthorized materials. Microsoft has no adequate remedy at
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  law for Defendants’ wrongful conduct because, among other things: (a) Microsoft’s trademarks

  and service mark are unique and valuable property that have no readily determinable market

  value; (b) Defendants’ infringement constitutes harm to Microsoft’s reputation and goodwill

  such that Microsoft could not be made whole by any monetary award; (c) if Defendants’

  wrongful conduct is allowed to continue, the public is likely to become further confused,

  mistaken, or deceived as to the source, origin or authenticity of the infringing materials; and (d)

  Defendants’ wrongful conduct, and the resulting harm to Microsoft, is continuing.

                                   THIRD CAUSE OF ACTION
                         False Designation of Origin; False and Misleading
                             Representations and Descriptions of Fact
                                         15 U.S.C. § 1125
         51.     Microsoft re-alleges paragraphs 1 through 32 as though fully set forth in this

  Cause of Action.

         52.     Defendants have made false and misleading representations and descriptions of

  fact in connection with the offering for sale and sale of unlawfully obtained and unauthorized

  access devices to Microsoft software, including without limitation, decoupled product keys,

  OEM tokens, program keys, and unauthorized credentials.

         53.     Defendants’ false and misleading representations and descriptions of fact were

  made in commercial advertising or promotion, including without limitation, in connection with

  the offer for sale and sale of unlicensed pirated Microsoft software.

         54.     Defendants’ false and misleading representations and descriptions of fact

  misrepresent the nature, characteristics, qualities, or origin of the Microsoft software they

  advertise and distribute.

         55.     Defendants’ use of Microsoft’s name and trademarks and its false and misleading

  representations and descriptions of fact in interstate commerce in connection with its offer for

  sale of unlicensed pirated Microsoft software has either deceived or has the capacity to deceive a

  substantial segment of potential consumers. This deception is material because it is likely to

  influence consumers’ purchasing decisions.

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          56.    Defendants have used, and continue to use, Microsoft’s name and trademarks

  referenced above to compete unfairly with Microsoft and to deceive customers.

          57.    Defendants’ conduct constitutes false designation of origin and descriptions, in

  violation of 15 U.S.C. § 1125(a).

          58.    Defendants’ wrongful conduct is likely to continue unless the Court restrains and

  enjoins it.

          59.    As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

  actual damages, Defendants’ profits, and treble damages and attorney fees according to

  15 U.S.C. § 1117.

          60.    Microsoft is also entitled to injunctive relief and to an order directing Defendants

  to stop marketing and advertising that they are providing legally licensing Microsoft software.

  Microsoft has no adequate remedy at law for Defendants’ wrongful conduct because, among

  other things: (a) Defendants’ advertising, marketing, installation, or distribution of unlicensed

  Microsoft software constitutes harm to Microsoft such that Microsoft could not be made whole

  by any monetary award; and (b) Defendants’ wrongful conduct, and the resulting damage to

  Microsoft, is continuing.
                                  FOURTH CAUSE OF ACTION
                                    Trade Dress Infringement
                                        15 U.S.C. § 1125
          61.    Microsoft re-alleges paragraphs 1 through 32 as though fully set forth in this

  Cause of Action.

          62.    Microsoft’s trade dress—specifically, the design for its software—is used in

  commerce, is non-functional, is inherently distinctive, and has acquired secondary meaning in

  the marketplace.

          63.    Microsoft’s trade dress has acquired secondary meaning in the marketplace as a

  result of Microsoft’s extensive advertising, Microsoft’s sales success, and the length and




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  exclusivity with which Microsoft has used its product packaging and design, among other

  factors.

             64.   Defendants are unfairly competing with Microsoft by adopting and advertising

  infringing trade dress to identify their goods and services.

             65.   The intent and result of Defendants’ actions are to create the impression and

  perception that Defendants’ goods and services emanate from or are endorsed by Microsoft,

  causing confusion, mistake, and deception among the public as to the source and origin of those

  goods and services.

             66.   Defendants’ actions are intended to cause, have caused, and are likely to cause

  confusion, mistake, deception among consumers, the public, and the trade who recognize and

  associate Microsoft trade dress with Microsoft.

             67.   Moreover, Defendants’ conduct is likely to cause confusion, to cause mistake, or

  to deceive consumers, the public, and the trade as to the source of the infringing products, or as

  to a possible affiliation, connection, or association between Microsoft, Defendants, and the

  infringing products.

             68.   Defendants’ use of an infringing trade dress has caused, and unless restrained,

  will continue to cause injury to Microsoft.

             69.   By using the same or a confusingly similar trade dress, Defendants have

  misrepresented the nature, origin, characteristics, and quality of their products, in violation of the

  Lanham Act (15 U.S.C. § 1125(a)).

             70.   By reason of Defendants’ actions, Microsoft has suffered and will continue to

  suffer irreparable harm for which it has no adequate remedy at law, and thus, Microsoft is

  entitled to injunctive relief.

             71.   As a result of Defendants’ wrongful conduct, Microsoft is entitled to recover its

  actual damages, Defendants’ profits, and treble damages and attorney fees pursuant to 15 U.S.C.

  § 1117.


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                                     PRAYER FOR RELIEF

        Microsoft respectfully requests that the Court grant Microsoft the following relief:

        (A)    Judgment in Microsoft’s favor on all claims;

        (B)    An order restraining and enjoining Defendants, their directors, principals, officers,

               agents, representatives, employees, attorneys, successors and assigns, and all

               others in active concert or participation with them from further violating

               Microsoft’s rights with the form and scope of an injunction to be determined

               according to proof at trial;

        (C)    An order under 15 U.S.C. § 1116 and 17 U.S.C. § 503 impounding all counterfeit

               or infringing copies of purported Microsoft software or any product-activation

               keys that can be used to create the same and any related item, including business

               records, that are in Defendants’ possession or under their control;

        (D)    An order declaring that Defendants hold in trust, as constructive trustees for the

               benefit of Microsoft, the illegal profits obtained from their distribution of

               counterfeit and infringing copies of Microsoft’s software and requiring

               Defendants to provide Microsoft a full and complete accounting of all amounts

               due and owing to Microsoft as a result of Defendants’ unlawful activities;

        (E)    An order requiring that Defendants pay all general, special, actual, and statutory

               damages that Microsoft has sustained, or will sustain, as a consequence of their

               unlawful acts, and that such damages be enhanced, doubled, or trebled as

               provided by 17 U.S.C. § 504(c) and 15 U.S.C. § 1117(b);

        (F)    An order requiring Defendants to pay to Microsoft the costs of this action and the

               reasonable attorneys’ fees incurred in prosecuting it, as provided by 15 U.S.C.

               § 1117 and 17 U.S.C. § 505; and

        (G)    An order granting all other relief as the Court deems just and equitable.




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  DATED: November 2, 2020            Respectfully Submitted,

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